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AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                        SouthernDistrict
                                                     __________ Districtof
                                                                         of__________
                                                                            Ohio

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No. 1:21-mj-700
                6403 KENNEDY AVE., APT. 3                                    )
                 CINCINNATI, OHIO 45213                                      )
                                                                             )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
                                                   See Attachment A

located in the             Southern               District of                    Ohio                  , there is now concealed (identify the
person or describe the property to be seized):
                                                  See Attachment B


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               u
               ✔ contraband, fruits of crime, or other items illegally possessed;
               u
                 ✔ property designed for use, intended for use, or used in committing a crime;
                 u
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description

            18 U.S.C. 1001                        Making False, Fictitious, or Fraudulent Statement or Representation.

          The application is based on these facts:
                        See attached Affidavit.

           ✔ Continued on the attached sheet.
           u
           u Delayed notice of        days (give exact ending date if more than 30 days:                                   ) is   requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                     Applicant’s signature

                                                                                            William Crayner, Special Agent, ATF&E
                                                                                                     Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
  via FaceTime video                                  (specify reliable electronic means).


Date:      Oct 1, 2021
                                                                                                       Judge’s signature

City and state: Cincinnati, Ohio                                                      Hon. Karen L. Litkovitz, U.S. Magistrate Judge
                                                                                                     Printed name and title
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                                        ATTACHMENT A

                                      Property to be searched

       The property to be searched is 6403 KENNEDY AVE., APT. 3, CINCINNATI, OH 45213,

The apartment building is a four-family building. Apartment 3 is located on the top floor on the

south side of the building. It can be seen and identified from the street as the top left apartment

from the front door. It is a red brick building with dark colored siding on the top floor. The numbers

“6403” are on the front door in light colored numbers.
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                                       ATTACHMENT B

                                       Property to be seized

       1.      All communications, in whatever form they may be—whether they are audio

recordings, electronic communications, or otherwise—that contain evidence of Shamika

HEIDELBERG’s contacts and communications with David BRYERS from September 1, 2021 to

present.

       2.      All cellphones, mobile phones, and smartphones belonging to or used by BRYERS

or HEIDELBERG (hereafter, any “Phone”), including but not limited to the (513) 354-9529 Phone

and the (513) 648-4379 Phone;

       3.      To the extent contained on any Phone seized from the PREMISES, all records

relating to violations of 18 U.S.C. § 1001, a violation involving David BRYERS and/or Shamika

HEIDELBERG and occurring on or about September 28, 2021, through the present, including

records and information relating to:

            a. Communications between BRYERS and HEIDELBERG related to obstructing,

               impeding, interfering, or influencing the investigation and judicial proceedings

               regarding BRYERS’ federal arrest warrant and/or wanted status.

            b. Communications from BRYERS and/or HEIDELBERG to third parties related to

               obstructing, impeding, interfering, or influencing the investigation and judicial

               proceedings regarding BRYERS’ federal arrest warrant and/or wanted status.

            c. Evidence indicating how and when the Phone was accessed or used, to determine

               the chronological and geographic context of access and use as it relates to the crime

               under investigation and the Phone’s user;
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      d. Evidence indicating the Phone user’s state of mind as it relates to the crime under

         investigation; and

      e. Evidence that may identify any co-conspirators or aiders and abettors, including

         records that help reveal their whereabouts.

 4.      For any Phone whose seizure is otherwise authorized by this warrant:

      a. evidence of who used, owned, or controlled the Phone at the time the things

         described in this warrant were created, edited, or deleted, such as logs, registry

         entries, configuration files, saved usernames and passwords, documents, browsing

         history, user profiles, email, email contacts, “chat,” instant messaging logs,

         photographs, and correspondence;

      b. evidence of software that would allow others to control the Phone, such as viruses,

         Trojan horses, and other forms of malicious software, as well as evidence of the

         presence or absence of security software designed to detect malicious software;

      c. evidence of the lack of such malicious software;

      d. evidence indicating how and when the Phone was accessed or used to determine

         the chronological context of computer access, use, and events relating to crime

         under investigation and to the Phone user;

      e. evidence indicating the Phone user’s state of mind as it relates to the crime under

         investigation;

      f. evidence of the attachment to the Phone of other storage devices or similar

         containers for electronic evidence;

      g. evidence of counter-forensic programs (and associated data) that are designed to

         eliminate data from the Phone;




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             h. evidence of the times the Phone was used;

             i. passwords, encryption keys, and other access devices that may be necessary to

                access the Phone;

             j. documentation and manuals that may be necessary to access the Phone or to

                conduct a forensic examination of the Phone;

             k. records of or information about Internet Protocol addresses used by the Phone;

             l. records of or information about the Phone’s Internet activity, including firewall

                logs, caches, browser history and cookies, “bookmarked” or “favorite” web pages,

                search terms that the user entered into any Internet search engine, and records of

                user-typed web addresses;

             m. contextual information necessary to understand the evidence described in this

                attachment.

        5.      As used above, the terms “records” and “information” includes all forms of creation

or storage, including any form of computer or electronic storage (such as hard disks or other media

that can store data).




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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO

 IN THE MATTER OF THE SEARCH OF:
 6403 KENNEDY AVE., APT. 3,
                                                              1:21-mj-700
                                                   Case No. ____________________
 CINCINNATI, OHIO 45213


      AFFIDAVIT IN SUPPORT OF AN APPLICATION UNDER RULE 41 FOR A
                     WARRANT TO SEARCH AND SEIZE

       I, William Crayner, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.     I make this affidavit in support of an application under Rule 41 of the Federal Rules

of Criminal Procedure for a warrant to search the premises known as 6403 KENNEDY AVE.,

APT. 3, CINCINNATI, OHIO 45213 (the “SUBJECT PREMISE”), further described in

Attachment A, for the things described in Attachment B.

       2.     I am a Special Agent (“SA”) with the Bureau of Alcohol, Tobacco, Firearms, and

Explosives (“ATF”), and have been so employed since December 2018. As a part of my training

with the ATF, I graduated from the Federal Law Enforcement Training Center, Criminal

Investigator School, located in Glynco, Georgia. I also graduated from the ATF Special Agent

Basic Training Academy, located in Glynco, Georgia, in June of 2019.

       3.     In my career with ATF, I have been assigned to the Cincinnati Field Office in the

Southern Judicial District of Ohio. Prior to my employment with ATF, I was a member of the

United States Secret Service in Washington D.C. where I served as a member of the Uniformed

Division under the Presidential Protective Division. I was employed in that capacity from July of

2010 to February of 2015. I was also a member of the Carmel Police Department in Carmel, IN

from February 2015 to December of 2018. I was assigned to the Operations Division at the Carmel
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Police Department and took part in various criminal investigations during my tenure. I have

received additional training in several areas of law enforcement, including but not limited to gang

investigations, narcotics interdiction and investigation, and firearms interdiction and investigation.

I am also a graduate of Purdue University where I received a bachelor’s degree in Law and Society

in 2008.

       4.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show only that there is sufficient probable cause for the requested warrant and does not set forth

all of my knowledge about this matter.

       5.      I believe that below stated facts will provide probable cause of violations of 18

U.S.C. § 1001, Making False, Fictitious, or Fraudulent Statement or Representation.

                                       PROBABLE CAUSE

   A. On September 22, 2021, David BRYERS was indicted by a federal Grand Jury in
      the Southern District of Ohio.


       6.      On September 22, 2021, a federal Grand Jury in the Southern District of Ohio

returned an Indictment charging David BREYERS with 18 U.S.C. § 922(u) – Theft of Firearms

from a Federal Firearms Licensee and 18 U.S.C. § 922(g)(1) – Possession of Firearms by a

Prohibited Person. I received an arrest warrant in case1:21-CR-101 filed through the United States

District Court for the Southern District of Ohio.

   B. In September 2021, I identified 6403 Kennedy Ave, Apt. 3, Cincinnati, OH 45213 as
      a known address for BRYERS.

       7.      On September 13, 2021, I saw a black Toyota Avalon, bearing Ohio plate: JEF3804

drive down the driveway of 6403 Kennedy Avenue, the SUBJECT PREMISE. This vehicle is




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owned by Shamika HEIDELBERG. I saw HEIDELBERG driving the Toyota and a male in the

front passenger seat, matching BRYERS’ description. I visually confirmed that BRYERS was the

male in the front passenger seat. On September 27, 2021, I met with a representative of Cincy

Sites, LLC (hereinafter “the Property Owner”), who owns 6403 Kennedy Avenue, Apt. 3,

Cincinnati, Ohio 45213, the SUBJECT PREMISE. I asked the Property Owner about the property

and the Property Owner said that Shamika HEIDELBERG is on the lease as residing at Apartment

3. The Property Owner provided me with HEIDELBERG’s phone number: (513) 354-9529. The

Property Owner also said that he has seen BRYERS in the apartment several times throughout the

past six to eight months and believed he may have his own key to Apartment 3. The information

provided to me by the Property Owner, corroborated my own observations.

   C. On September 28, 2021, the Cincinnati Police Department (CPD) and ATF
      Cincinnati Field Office responded to the SUBJECT PREMISE and made contact
      with HEIDELBERG.

       8.      On September 28, 2021, at approximately 6:30 a.m., the ATF Cincinnati Field

Office and the CPD responded to the SUBJECT PREMISE, the address associated with

BRYERS as described above, to attempt to locate BRYERS to affect his active arrest warrant.

       9.      Law enforcement knocked and announced their presence on the front door of

Apartment 3 (SUBJECT PREMISE), which is located on the top floor of the building. A woman,

who identified herself as Shamika HEIDELBERG, opened the door. HEIDELBERG is the known

lease holder at the apartment. HEILDELBERG stated that BRYERS was not at the apartment and

consented to law enforcement searching the apartment for BRYERS. BRYERS was not located

within the residence.




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       10.     I spoke with HEIDELBERG in the hallway outside of the apartment. I was wearing

overt police markings and identified myself as an ATF Agent. I further advised HEIDELBERG

that BRYERS had an active arrest warrant and that I needed to locate him. HEIDELBERG stated

that she had broken up with BRYERS a few weeks ago and she stated that he was not coming

around her apartment anymore. I asked HEIDELBERG if she had any way of contacting BRYERS,

through the phone, or any social media accounts. HEIDELBERG said she did not have any way

of contacting BRYERS. I then asked HEIDELBERG if she knew of any locations where BRYERS

would be staying, living, or hanging out. HEIDELBERG stated she did not know of any locations

where BRYERS could be located. HEIDELBERG stated that BRYERS hung out with “weird”

people and that he was frequently at locations that she did not know about.

       11.     I wrote my government provided cell phone number in a notebook provided by

HEIDELBERG and asked her to call me at that number if she saw BRYERS or learned of any

information relating to his whereabouts, and to provide me with such information. After speaking

with HEIDELBERG, all law enforcement then left the location.

       12.     Throughout the entirety of September 28, 2021, I provided only HEIDELBERG

with my government provided cell phone number and she was the sole occupant of her apartment

while law enforcement was on scene. I did not provide any other individuals my government cell

number on that date. I also never made contact or attempted to contact anyone else regarding

BRYERS’ arrest warrant or his whereabouts. I did not tell any other known associates of BRYERS

that BRYERS had an active arrest warrant. Therefore, I believe that HEIDELBERG is the only

close associate to BRYERS who has my government provided cell number and the only close

associate who learned of BRYERS arrest warrant from law enforcement.




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   D. On September 28, 2021, at 2:27 p.m., I received an incoming phone call from
      BRYERS.

       13.     On September 28, 2021, at 2:27 p.m., I received an incoming phone call on my

government provided cell phone from phone number (513) 658-4379. I answered and an unknown

male voice, identified himself as “David Bryers.” The male on the phone then stated that he had

heard I was looking for him. I asked the male how he knew that, and he told me that he called

around and got my information from the “clerk of courts.” The male further elaborated that the

clerk of courts told him that he had a federal case. I asked BRYERS if Shamika gave him my

phone number and he stated that he got my number from “calling around.”

       14.     I told BRYERS that I needed to speak with him regarding an incident that took

place in May 2020. BRYERS asked about specifics of my investigation, and I told him that I would

not conduct an interview over the phone and that I needed to speak with him in person at the federal

building in downtown Cincinnati. BRYERS stated that he would be willing to come to the federal

building and talk and that he would be available between 5:00 p.m. and 6:00 p.m. that same day. I

told BRYERS that I was available during that time and that I would see him then.

       15.     At 5:07 p.m., I received another incoming phone call on my government provided

cell phone from David Singleton using number (513) 543-7254, who identified himself as

BRYERS’ attorney. I told Mr. Singleton that BRYERS had an active arrest warrant and we

discussed BRYERS turning himself in; Mr. Singleton told me that BRYERS would turn himself

in at approximately 6:00 p.m. At 5:59 p.m., Mr. Singleton called me and told me BRYERS would

turn himself in at 9:00 a.m. the following morning.




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   E. On September 29, 2021, BRYERS is a no-show at the federal building, 550 Main
      Street, Cincinnati, Ohio 45202.

       16.     I arrived at the federal building at approximately 8:45 a.m., along with ATF Task

Force Officer Jason Wharton. TFO Wharton and I arrived on the main floor lobby of the federal

building to await BRYERS’ arrival. At 9:00 a.m., BRYERS was not at the federal building as

instructed.

       17.     At 9:11 a.m., I sent an iMessage to Mr. Singleton’s phone number and asked where

BRYERS was, as BRYERS had not arrived as scheduled. Mr. Singleton responded that he would

see what he could find out about BRYERS’ whereabouts. I never received any information about

BRYERS’ whereabouts from Singleton, or anyone else, and BRYERS did not turn himself in at

9:00 a.m.

       18.     At 9:28 a.m., I called the number (513) 658-4379, that BRYERS had called me

from the previous day. The phone call was immediately directed to a voicemail, indicating the

device for the number was turned off. The automated voice stated that a voicemail box for that

number had not been set up, so I was unable to leave a voice message. I hung up and immediately

called the number again, to confirm that the first phone call went through properly. I received the

same message from the first attempt.

       19.     At 10:02 a.m., I sent Mr. Singleton an iMessage that BRYERS could turn himself

in at the United States Marshals Office, or any police district in the country. To date, BRYERS

has not turned himself in to law enforcement.

       20.     Based on my training and experience, I believe there is probable cause that

HEIDELBERG made a knowing false statement to a federal law enforcement agent and evidence

of a violation of 18 U.S.C. § 1001 will be located in the SUBJECT PREMISE. Based on my




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training and experience, I believe HEIDELBERG’s statement that she did not have any way to

contact BRYERS was false and that HEIDELBERG contacted BRYERS following our interaction

on September 28, 2021, at the SUBJECT PREMISE. My belief is based on my knowledge that

BRYERS and HEIDELBERG have had an established relationship, which spanned over several

months. As explained above, I saw BRYERS and HEIDELBERG together approximately two

weeks prior to my conversation with HEIDELBERG. The Property Owner established that

BRYERS was at HEIDELBERG’s apartment frequently over the past six to eight months. I also

provided my cell phone number to HEIDELBERG and her alone. I then received a phone call from

BRYERS asking about my investigation approximately eight hours later and BRYERS would not

elaborate as to where he obtained my phone number other than the clerk of courts provided it to

him. I contacted both the Hamilton County (OH) Clerk of Courts and the Clerk of Courts for the

Southern District of Ohio. Both offices stated they did not have my cell phone number to provide

to anyone and if they did, that is not their common practice.         Therefore, I believe that

HEIDELBERG contacted BRYERS and gave BRYERS my government cell number after I spoke

to HEIDELBERG.

        COMPUTERS, ELECTRONIC STORAGE, AND FORENSIC ANALYSIS

       21.     As described above and in Attachment B, this application seeks, among other

things, permission to search for cellphones, mobile phones, and smart phones (all forms of

computers and/or storage media) that might be found on the SUBJECT PREMISE, as well as

relevant records and information that might be stored on those devices. Thus, the warrant applied

for would authorize the seizure of electronic storage media or, potentially, the copying of

electronically stored information, all under Rule 41(e)(2)(B).




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       22.      Probable cause. I submit that if a cellphone, mobile phone, or smart phone is found

on the SUBJECT PREMISE, there is probable cause to believe that relevant records will be stored

on that device for at least the following reasons:

             a. Based on my knowledge, training, and experience, I know that computer files or

                remnants of such files can be recovered months or even years after they have been

                downloaded onto a storage medium, deleted, or viewed via the Internet. Electronic

                files downloaded to a storage medium can be stored for years at little or no cost.

                Even when files have been deleted, they can be recovered months or years later

                using forensic tools. This is so because when a person “deletes” a file on a

                computer, the data contained in the file does not actually disappear; rather, that data

                remains on the storage medium until it is overwritten by new data.

             b. Therefore, deleted files, or remnants of deleted files, may reside in free space or

                slack space—that is, in space on the storage medium that is not currently being used

                by an active file—for long periods of time before they are overwritten. In addition,

                a computer’s operating system may also keep a record of deleted data in a “swap”

                or “recovery” file.

             c. Wholly apart from user-generated files, computer storage media—in particular,

                computers’ internal hard drives—contain electronic evidence of how a computer

                has been used, what it has been used for, and who has used it. To give a few

                examples, this forensic evidence can take the form of operating system

                configurations, artifacts from operating system or application operation, file system

                data structures, and virtual memory “swap” or paging files. Computer users




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                typically do not erase or delete this evidence, because special software is typically

                required for that task. However, it is technically possible to delete this information.

             d. Similarly, files that have been viewed via the Internet are sometimes automatically

                downloaded into a temporary Internet directory or “cache.”

       23.      Forensic evidence. As further described in Attachment B, this application seeks

permission to, among other things, locate not only computer files that might serve as direct

evidence of the crimes described on the warrant, but also for forensic electronic evidence that

establishes how computers (including cellphones, mobile phones, and smartphones) were used,

the purpose of their use, who used them, and when. There is probable cause to believe that this

forensic electronic evidence will be on any storage medium in the SUBJECT PREMISE because:

             a. Data on the storage medium can provide evidence of a file that was once on the

                storage medium but has since been deleted or edited, or of a deleted portion of a

                file (such as a paragraph that has been deleted from a word processing file). Virtual

                memory paging systems can leave traces of information on the storage medium that

                show what tasks and processes were recently active.           Web browsers, e-mail

                programs, and chat programs store configuration information on the storage

                medium that can reveal information such as online nicknames and passwords.

                Operating systems can record additional information, such as the attachment of

                peripherals, the attachment of USB flash storage devices or other external storage

                media, and the times the computer was in use. Computer file systems can record

                information about the dates files were created and the sequence in which they were

                created, although this information can later be falsified.




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      b. As explained herein, information stored within a computer and other electronic

         storage media may provide crucial evidence of the “who, what, why, when, where,

         and how” of the criminal conduct under investigation, thus enabling the United

         States to establish and prove each element or alternatively, to exclude the innocent

         from further suspicion. In my training and experience, information stored within a

         computer or storage media (e.g., registry information, communications, images and

         movies, transactional information, records of session times and durations, internet

         history, and anti-virus, spyware, and malware detection programs) can indicate who

         has used or controlled the computer or storage media. This “user attribution”

         evidence is analogous to the search for “indicia of occupancy” while executing a

         search warrant at a residence. The existence or absence of anti-virus, spyware, and

         malware detection programs may indicate whether the computer was remotely

         accessed, thus inculpating or exculpating the computer owner. Further, computer

         and storage media activity can indicate how and when the computer or storage

         media was accessed or used. For example, as described herein, computers typically

         contain information that log: computer user account session times and durations,

         computer activity associated with user accounts, electronic storage media that

         connected with the computer, and the IP addresses through which the computer

         accessed networks and the internet. Such information allows investigators to

         understand the chronological context of computer or electronic storage media

         access, use, and events relating to the crime under investigation. Additionally,

         some information stored within a computer or electronic storage media may provide




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         crucial evidence relating to the physical location of other evidence and the suspect.

         For example, images stored on a computer may both show a particular location and

         have geolocation information incorporated into its file data. Such file data typically

         also contains information indicating when the file or image was created. The

         existence of such image files, along with external device connection logs, may also

         indicate the presence of additional electronic storage media (e.g., a digital camera

         or cellular phone with an incorporated camera). The geographic and timeline

         information described herein may either inculpate or exculpate the computer user.

         Last, information stored within a computer may provide relevant insight into the

         computer user’s state of mind as it relates to the offense under investigation. For

         example, information within the computer may indicate the owner’s motive and

         intent to commit a crime (e.g., internet searches indicating criminal planning), or

         consciousness of guilt (e.g., running a “wiping” program to destroy evidence on the

         computer or password protecting/encrypting such evidence in an effort to conceal

         it from law enforcement).

      c. A person with appropriate familiarity with how a computer works can, after

         examining this forensic evidence in its proper context, draw conclusions about how

         computers were used, the purpose of their use, who used them, and when.

      d. The process of identifying the exact files, blocks, registry entries, logs, or other

         forms of forensic evidence on a storage medium that are necessary to draw an

         accurate conclusion is a dynamic process. While it is possible to specify in advance

         the records to be sought, computer evidence is not always data that can be merely




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                reviewed by a review team and passed along to investigators. Whether data stored

                on a computer is evidence may depend on other information stored on the computer

                and the application of knowledge about how a computer behaves. Therefore,

                contextual information necessary to understand other evidence also falls within the

                scope of the warrant.

             e. Further, in finding evidence of how a computer was used, the purpose of its use,

                who used it, and when, sometimes it is necessary to establish that a particular thing

                is not present on a storage medium. For example, the presence or absence of

                counter-forensic programs or anti-virus programs (and associated data) may be

                relevant to establishing the user’s intent.

       24.      Necessity of seizing or copying entire computers or storage media. In most cases,

a thorough search of a premises for information that might be stored on storage media often

requires the seizure of the physical storage media and later off-site review consistent with the

warrant. In lieu of removing storage media from the premises, it is sometimes possible to make an

image copy of storage media. Generally speaking, imaging is the taking of a complete electronic

picture of the computer’s data, including all hidden sectors and deleted files. Either seizure or

imaging is often necessary to ensure the accuracy and completeness of data recorded on the storage

media, and to prevent the loss of the data either from accidental or intentional destruction. This is

true because of the following:

             a. The time required for an examination. As noted above, not all evidence takes the

                form of documents and files that can be easily viewed on site. Analyzing evidence

                of how a computer has been used, what it has been used for, and who has used it




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                requires considerable time, and taking that much time on premises could be

                unreasonable. As explained above, because the warrant calls for forensic electronic

                evidence, it is exceedingly likely that it will be necessary to thoroughly examine

                storage media to obtain evidence. Storage media can store a large volume of

                information. Reviewing that information for things described in the warrant can

                take weeks or months, depending on the volume of data stored, and would be

                impractical and invasive to attempt on-site.

             b. Technical requirements. Computers can be configured in several different ways,

                featuring a variety of different operating systems, application software, and

                configurations. Therefore, searching them sometimes requires tools or knowledge

                that might not be present on the search site. The vast array of computer hardware

                and software available makes it difficult to know before a search what tools or

                knowledge will be required to analyze the system and its data on the Premises.

                However, taking the storage media off-site and reviewing it in a controlled

                environment will allow its examination with the proper tools and knowledge.

             c. Variety of forms of electronic media. Records sought under this warrant could be

                stored in a variety of storage media formats that may require off-site reviewing with

                specialized forensic tools.

       25.      Nature of examination.        Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit seizing, imaging, or otherwise copying

storage media that reasonably appear to contain some or all of the evidence described in the

warrant, and would authorize a later review of the media or information consistent with the




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warrant. The later review may require techniques, including but not limited to computer-assisted

scans of the entire medium, that might expose many parts of a hard drive to human inspection in

order to determine whether it is evidence described by the warrant.

                                         CONCLUSION

       26.     I submit that this affidavit supports probable cause for a warrant to search the

SUBJECT PREMISE described in Attachment A and seize the items described in Attachment B,

all in violation of 18 U.S.C. § 1001.

                                  REQUEST FOR SEALING

       27.     I respectfully request that this Court issue an order sealing, until further order of

the Court, all papers submitted in support of this application, including the application and search

warrant. I believe that sealing these documents is necessary because the items and information to

be seized are relevant to an ongoing investigation. The targets of this investigation, BRYERS and

HEIDELBERG, are not aware of the full scope of the government’s attempts to obtain evidence

in this case. If BRYERS and HEIDELBERG learn that the government continues to investigate,

and in particular if they learn of the government’s intent to search HEIDELBERG’s residence,

BRYERS may direct HEIDELBERG to dispose of the evidence sought by this search warrant, or




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other evidence about which the government is not yet aware. For these reasons, premature

disclosure of the contents of this affidavit and related documents may have a significant and

negative impact on the continuing investigation and may severely jeopardize its effectiveness.

                                                    Respectfully submitted,



                                                    William Crayner
                                                    Special Agent
                                                    Bureau of Alcohol, Tobacco, Firearms and
                                                    Explosives


Attested to by the Applicant in accordance with Fed. R. Crim. P. 4.1
this ____
      1st day of October, 2021.


_________________________________________
HON. KAREN L. LITKOVITZ
UNITED STATES MAGISTRATE JUDGE




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                                        ATTACHMENT A

                                      Property to be searched

       The property to be searched is 6403 KENNEDY AVE., APT. 3, CINCINNATI, OH 45213,

The apartment building is a four-family building. Apartment 3 is located on the top floor on the

south side of the building. It can be seen and identified from the street as the top left apartment

from the front door. It is a red brick building with dark colored siding on the top floor. The numbers

“6403” are on the front door in light colored numbers.
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                                       ATTACHMENT B

                                       Property to be seized

       1.      All communications, in whatever form they may be—whether they are audio

recordings, electronic communications, or otherwise—that contain evidence of Shamika

HEIDELBERG’s contacts and communications with David BRYERS from September 1, 2021 to

present.

       2.      All cellphones, mobile phones, and smartphones belonging to or used by BRYERS

or HEIDELBERG (hereafter, any “Phone”), including but not limited to the (513) 354-9529 Phone

and the (513) 648-4379 Phone;

       3.      To the extent contained on any Phone seized from the PREMISES, all records

relating to violations of 18 U.S.C. § 1001, a violation involving David BRYERS and/or Shamika

HEIDELBERG and occurring on or about September 28, 2021, through the present, including

records and information relating to:

            a. Communications between BRYERS and HEIDELBERG related to obstructing,

               impeding, interfering, or influencing the investigation and judicial proceedings

               regarding BRYERS’ federal arrest warrant and/or wanted status.

            b. Communications from BRYERS and/or HEIDELBERG to third parties related to

               obstructing, impeding, interfering, or influencing the investigation and judicial

               proceedings regarding BRYERS’ federal arrest warrant and/or wanted status.

            c. Evidence indicating how and when the Phone was accessed or used, to determine

               the chronological and geographic context of access and use as it relates to the crime

               under investigation and the Phone’s user;
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        d. Evidence indicating the Phone user’s state of mind as it relates to the crime under

           investigation; and

        e. Evidence that may identify any co-conspirators or aiders and abettors, including

           records that help reveal their whereabouts.

   4.      For any Phone whose seizure is otherwise authorized by this warrant:

        a. evidence of who used, owned, or controlled the Phone at the time the things

           described in this warrant were created, edited, or deleted, such as logs, registry

           entries, configuration files, saved usernames and passwords, documents, browsing

           history, user profiles, email, email contacts, “chat,” instant messaging logs,

           photographs, and correspondence;

        b. evidence of software that would allow others to control the Phone, such as viruses,

           Trojan horses, and other forms of malicious software, as well as evidence of the

           presence or absence of security software designed to detect malicious software;

        c. evidence of the lack of such malicious software;

        d. evidence indicating how and when the Phone was accessed or used to determine

           the chronological context of computer access, use, and events relating to crime

           under investigation and to the Phone user;

        e. evidence indicating the Phone user’s state of mind as it relates to the crime under

           investigation;

        f. evidence of the attachment to the Phone of other storage devices or similar

           containers for electronic evidence;

        g. evidence of counter-forensic programs (and associated data) that are designed to

           eliminate data from the Phone;




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             h. evidence of the times the Phone was used;

             i. passwords, encryption keys, and other access devices that may be necessary to

                access the Phone;

             j. documentation and manuals that may be necessary to access the Phone or to

                conduct a forensic examination of the Phone;

             k. records of or information about Internet Protocol addresses used by the Phone;

             l. records of or information about the Phone’s Internet activity, including firewall

                logs, caches, browser history and cookies, “bookmarked” or “favorite” web pages,

                search terms that the user entered into any Internet search engine, and records of

                user-typed web addresses;

             m. contextual information necessary to understand the evidence described in this

                attachment.

        5.      As used above, the terms “records” and “information” includes all forms of creation

or storage, including any form of computer or electronic storage (such as hard disks or other media

that can store data).




                                                 3
